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 8                             IN THE UNITED STATES DISTRICT COURT
 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                                CASE NO. CR F 11-0052 LJO
12                          Plaintiff,                        RECONSIDERATION ORDER
                                                              (Doc. 109)
13          vs.
14   BOUNSOU VORASANE,
15                          Defendant.
                                                  /
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17          This Court has received and reviewed defendant Bounsou Vorasane's Motion for Reconsideration
18   (Document 109) of the Court's Order (Document 107) on the prior Motion to Suppress (Document 100).
19   The Court finds that there exists neither new law nor new fact to justify the current motion. Attempting
20   to entitle the document as an alternative motion does not eliminate the fact that this is bringing the same
21   motion on a stated, yet slightly different basis that should have been included in the original motion.
22   The instant motion is neither justified in substance nor procedure.
23          Counsel is cautioned that further such abuse, in this case or in any other, will result in an Order
24   to Show Cause In Re Contempt that, if found to be true, will result in severe monetary sanctions.
25   The motion is DENIED.
26          IT IS SO ORDERED.
27   Dated:       February 21, 2012                       /s/ Lawrence J. O'Neill
     66h44d                                           UNITED STATES DISTRICT JUDGE
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